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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

        Plaintiff,
                                                                 Hon. Paul L. Maloney
 v.
                                                                 Case No. 1:18-cr-00167
 MONICA LASTER,

        Defendant.
 ________________________________/


                           REPORT AND RECOMMENDATION

       Pursuant to W.D.Mich. LCrR. 11.1, I conducted a plea hearing in the captioned

case on September 24, 2019, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Monica Laster entered a plea of guilty to Count 17 of

the Superseding Indictment in exchange for the undertakings made by the government in

the written plea agreement. In Count 17 of the Superseding Indictment, defendant is

charged with unlawful use of a communication facility in violation of 21 U.S.C. §§ 843(b)

and 843(d). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and

with full understanding of each of the rights waived by defendant; that it is made voluntarily

and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by

law; and that the plea has a sufficient basis in fact.
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       I therefore recommend that defendant's plea of guilty to Count 17 of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that

the written plea agreement be considered for acceptance at the time of sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


Dated: September 24, 2019                                 /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge




       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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